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                      Exhibit B
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From: Martinez, Jenny [mailto:JMartinez@GodwinRonquillo.com]
Sent: Tuesday, October 04, 2011 05:02 PM
To: Sally_Shushan@laed.uscourts.gov <Sally_Shushan@laed.uscourts.gov>;
Mike_OKeefe@laed.uscourts.gov <Mike_OKeefe@laed.uscourts.gov>
Cc: dgodwin@godwinronquillo.com; York, R. Alan <AYork@GodwinRonquillo.com>;
DefenseLiaison2179@liskow.com <DefenseLiaison2179@liskow.com>; James Roy
<JIMR@wrightroy.com>; sherman@hhkc.com; Mike.Underhill@usdoj.gov; lstrange@ago.state.al.us;
CMaze@ago.state.al.us
Subject: Affidavit of James Ferguson - Submitted Under Seal

Your Honor:

Pursuant to your 9/27/11 Order Regarding BP's Motion to Compel Halliburton Investigation
Materials, attached please find the affidavit of James Ferguson. Upon further investigation, it
does not appear that Mr. Chemali conducted any post-Incident activities at the direction of
counsel. Please let me know if I can provide any additional information.

Sincerely,




Jenny Martinez
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